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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 06-cv-02262-JLK (consolidated with Civil Action No. 07-cv-02063-JLK)

RENEE ATWELL,
VIVIAN BRADLEY,
TERRY LEE, and
YVETTE MARTINEZ HOCHBERG,

      Plaintiffs,

v.

PATRICIA GABOW, in her individual capacity and in her official capacity as Chief
Executive Officer and Medical Director of Denver Health and Hospital Authority, and
DENVER HEALTH AND HOSPITAL AUTHORITY,

     Defendants.
_____________________________________________________________________

Civil Action No. 07-cv-02063-JLK

ODIN GOMEZ,
MEKELA RIDGEWAY,
CATHIE GORDON, and
KATIE MOORE,

      Plaintiffs,

v.

PATRICIA GABOW, in her individual capacity and in her official capacity as Chief
Executive Officer and Medical Director of Denver Health and Hospital Authority,
GREG ROSSMAN, in his individual capacity and in his official capacity as Chief Human
Resources Officer of Denver Health and Hospital Authority,
WENDY ALEXANDER, in her official capacity and in her official capacity as Human
Resources Director of Denver Health and Hospital Authority, and
DENVER HEALTH AND HOSPITAL AUTHORITY,

      Defendants.
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                 JUDGMENT PURSUANT TO F.R.C.P. 54(b)
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      Pursuant to and in accordance with the Order Granting Motion for Entry of

Judgment Pursuant to F.R.C.P. 54(b) and Directing Entry of Judgment entered by

Senior Judge John L. Kane on April 16, 2008, incorporated herein by reference, it is

      ORDERED that final judgment is entered in these consolidated cases pursuant

to F.R.C.P. 54(b) as follows:

      1.     Dismissing with prejudice all claims of Plaintiffs Vivian Bradley, Terry Lee

and Yvetter Martinez Hochbert in 06-cv-02262-JLK and all claims of Odin Gomez,

Mekela Ridgeway, Cathie Gordon, and Katie Moore in 07-cv-02063-JLK, as provided

by the Court’s Order dated March 31, 2008 (Doc. 76);

      2.     Dismissing with prejudice the claims of Plaintiff Renee Atwell in 06-cv-

02262-JLK that were alleged under 42 U.S.C. §§ 1981 and 1983 and under C.R.S.

§25-29-107, as provided by the Court’s Order dated March 31 2008;

      3.     Dismissing with prejudice in 06-cv-02262-JLK and 07-cv-02063-JLK all

claims against Defendants Particia Gabow, Greg Rossman, and Wendy Alexander, in

both their individual and official capacities, as provided by the Court’s Order dated

March 31, 2008; and




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      4.     Denying Plaintiffs’ joint motion for certification of a single class action, as

provided in the Court’s Order dated February 28, 2008 (Doc. 74).

      DATED this 21st day of April, 2008.

                                          FOR THE COURT:

                                          Gregory C. Langham, Clerk


                                          By: s/ Edward P. Butler
                                                 Edward P. Butler,
                                                 Deputy Clerk

APPROVED:


s/John L. Kane
Senior U.S. District Judge




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